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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________
                                      )
AMERICAN HOSPITAL                     )
ASSOCIATION, et al.,                  )
                                      )
              Plaintiffs,             )
                                      )
       v.                             )    Civil Action No. 18-2841 (RMC)
                                      )
ALEX M. AZAR II,                      )
Secretary of the Department of Health )
and Human Services,                   )
                                      )
              Defendant.              )
__________________________________ )


                                          ORDER

               For the reasons stated in the Memorandum Opinion issued contemporaneously

with this Order, it is hereby

               ORDERED that Plaintiffs’ Motion to Enforce Judgment, Dkt. 43, is DENIED.



Date: December 16, 2019
                                                        ROSEMARY M. COLLYER
                                                        United States District Judge




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